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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


MARCIA FREDERICK, individually, and )
on behalf of all others similarly situated, )
                                            )   Civil Action No: 1:18-cv-11299-IT
               Plaintiffs,                  )
                                            )
v.                                          )
                                            )        MOTION TO DISMISS
UNITED STATES OLYMPIC                       )
COMMITTEE, USA GYMNASTICS                   )
(formerly known as the United States        )
Gymnastics Federation), RICHARD             )
CARLSON, MURIEL GROSSFELD,                  )
GEORGE WARD,                                )
                                            )
               Defendants.                  )
           ____________________________________________________________

              DEFENDANT RICHARD CARLSON’S MOTION TO DISMISS THE
                    PLAINTIFF’S FIRST AMENDED COMPLAINT

   Pursuant to Fed. R. Civ. P. Rules 12(b)(2) and 12(b)(6), Defendant Richard Carlson

(“Defendant Carlson”) respectfully requests that this Court dismiss all claims asserted against

him by Plaintiff Marcia Frederick (“Plaintiff”). As grounds for this Motion, Defendant Carlson

states as follows:

         1.      Plaintiff’s First Amended Complaint asserts two state common law claims against

Defendant Carlson: negligence (Second Cause of Action) and negligent infliction of emotional

distress. (Fourth Cause of Action)

         2.      Plaintiff’s First Amended Complaint must be dismissed because Plaintiff has

failed to plead specific facts upon which personal jurisdiction over Defendant Carlson may be

based.
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       3.      Plaintiff’s claims insofar as asserted against Defendant Carlson are barred by the

applicable statute of limitations.

       4.      Plaintiff’s First Amended Complaint fails to plead facts to demonstrate a

“plausible” claim for negligence and/or negligent infliction of emotional distress against

Defendant Carlson.

       5.      For these reasons, together with those explained in full in the accompanying

Memorandum in Support, this Court should dismiss the First Amended Complaint against

Defendant Carlson in its entirety for failure to state a claim upon which relief may be granted.

       For the foregoing reasons, Defendant Carlson respectfully requests that this Motion be

ALLOWED.

                                                      Respectfully submitted,

                                                      /s/ Austin J. Freeley
                                                      Austin J. Freeley, Esq.
                                                      BBO# 563349
                                                      171 Milk Street
                                                      Boston, Massachusetts 02109
                                                      Tel: (617) 723-9538
                                                      Freeley@Justice.com

Dated: October 26, 2018



                                     CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the foregoing document with the
Clerk of Court using the CM/ECF system, with copies to be sent electronically to the registered
participants as identified in the Notice of Electronic Filing issued by this Court on this 26th day
of October, 2018.
                                                        /s/ Austin J. Freeley
                                                        Austin J. Freeley
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                              REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Defendant Carlson respectfully requests that the Court

hear oral argument on the Motion. Defendant Carlson believes that a hearing will be helpful to

the Court in deciding the issues raised in the Motion.
